Opinion issued August 15, 2024




                                       In The

                               Court of Appeals
                                      For The

                           First District of Texas
                             ————————————
                               NO. 01-23-00151-CV
                            ———————————
                       STEEL SURPLUS, INC., Appellant
                                         V.
          ADOBE CAPITAL, LLC AND RYAN GREENE, Appellees


                    On Appeal from the 125th District Court
                             Harris County, Texas
                       Trial Court Case No. 2022-41177


                          MEMORANDUM OPINION

      Appellant, Steel Surplus, Inc. (“Steel Surplus”), challenges the trial court’s

rendition of summary judgment in favor of appellees, Adobe Capital, LLC (“Adobe

Capital”) and Ryan Greene (collectively, “appellees”), in Steel Surplus’s suit against

them for breach of contract and fraud. In three issues, Steel Surplus contends that
the trial court erred in granting appellees summary judgment and in refusing to grant

it a continuance.

      We affirm.

                                   Background

      In its original petition, Steel Surplus alleged that “Adobe Capital [wa]s the

purported owner” of a parcel of property on the Eastex Freeway in Houston, Harris

County, Texas (the “property”) and had “advertised the [p]roperty for sale.” Steel

Surplus “negotiated and agreed upon a price” for the property with Adobe Capital’s

agent, Greene.      Under the agreement, Steel Surplus was to pay $100,000 in

nonrefundable earnest money and a sales price of $5 million, with the closing to

occur in sixty days.

      Steal Surplus further alleged that a contract was executed consistent with

those terms, and Steel Surplus deposited $100,000 with the title company. But then,

on July 7, 2022, Greene and Adobe Capital “attempted to renegotiate the contract

after it had been accepted.”

      Steel Surplus brought a claim against appellees for breach of contract, alleging

that Adobe Capital had “failed to perform its obligations under the contract.” Steel

Surplus sought specific performance and requested that the trial court order Adobe

Capital “to provide clear title and convey the [p]roperty to [Steel Surplus] at the

agreed upon price.” Alternatively, Steel Surplus sought compensatory damages for


                                          2
Adobe Capital’s breach of contract. And it sought to recover its attorney’s fees.1

Steel Surplus also brought a claim against appellees for fraud, and it filed a notice

of lis pendens with its original petition.

      Appellees separately answered, generally denying the allegations in Steel

Surplus’s original petition and asserting that Steel Surplus was not entitled to

specific performance and its claims were barred by the statute of frauds.2

      Adobe Capital also brought a counterclaim against Steel Surplus, seeking

sanctions against it. According to Adobe Capital, Steel Surplus, in filing its suit and

the lis pendens, had “engaged in a course of conduct” that was “untrue and

harassing” in violation of Texas Civil Practice and Remedies Code section 10.001.3

Specifically, Adobe Capital alleged that Steel Surplus falsely stated that it had a

“valid contract” with Adobe Capital and had falsely represented to the title company

that an earnest money contract had been “signed electronically” by Adobe Capital.

The title company had responded to Steel Surplus that it would not accept the earnest

money contract “because it had not been signed and initialed by both parties.”

Adobe Capital also alleged that the lis pendens sworn to by Steel Surplus’s president,



1
      See TEX. CIV. PRAC. &amp; REM. CODE ANN. § 38.001.
2
      See TEX. BUS. &amp; COM. CODE ANN. §§ 26.01(a)(1 )–(2), 26.02(b)(4).
3
      See TEX. CIV. PRAC. &amp; REM. CODE ANN. § 10.001 (“Signing of Pleadings and
      Motions”). Adobe Capital also invoked Texas Rule of Civil Procedure 13 as a basis
      for imposing sanctions on Steel Surplus. See TEX. R. CIV. P. 13.

                                             3
Rogerio “Roger” Gomez, falsely stated that Adobe Capital “signed documents and

an earnest money contract, for the purchase of [the property].” And Adobe Capital

alleged that Steel Surplus was aware of the falsity of its claims, noting that Steel

Surplus had “exchanged text messages with [Greene]” on July 6, 2022—six days

before Steel Surplus filed its suit and the lis pendens—in which Steel Surplus had

stated: “[J]ust forget it we will take it elsewhere” and “we have another piece of

property.” (Internal quotations omitted.)

      Additionally, while noting that six weeks had passed since Steel Surplus had

filed its original petition and the lis pendens, Adobe Capital asserted that the lis

pendens was invalid because a copy was not served on Adobe Capital by the

statutory deadline.4 And although Adobe Capital had not yet been served with the

lis pendens, Steel Surplus nevertheless “refuse[d] to remove it from the Harris

County Deed records.”

      Adobe Capital attached to its counterclaim a copy of the unsigned earnest

money contract and copies of pertinent email correspondence between the parties

and the title company. It also attached the declaration of its president, Robert

Latimer, Jr. In his declaration, Latimer stated that “[o]n behalf of Adobe [Capital],”



4
      See TEX. PROP. CODE ANN. § 12.007(d) (“Not later than the third day after the date
      a person files a notice for record under this section, the person must serve a copy of
      the notice on each party to the action who has an interest in the real property affected
      by the notice.”).

                                             4
he had contacted Greene, the vice president of JLL Houston Industrial Services

(“JLL”), “for assistance in marketing the [p]roperty for lease or sale.” Latimer stated

that “[n]either [Greene] nor JLL had [the] authority from Adobe [Capital] to commit

Adobe [Capital] on any real estate transaction nor to sign any documents on its

behalf,” and neither had “any ownership interest in the [p]roperty or in Adobe

[Capital].”

      According to Latimer, “Greene began negotiating with various representatives

of [Steel Surplus] and its affiliates about the property” in early June 2022. At first,

Steel Surplus sought to lease the property, “but eventually, on or about June 27,

2022, Steel Surplus offered to purchase the property for $5,000,000[].” After

informing Adobe Capital about the offer, Greene prepared a proposed earnest money

contract using the form commercial contract provided by the Texas Real Estate

Commission and “forwarded a copy to Steel Surplus.” Latimer also received a copy

of the proposed earnest money contract on or about June 30, 2022, but “[n]either

Adobe [Capital] nor anyone on its behalf signed th[at] contract.”          (Emphasis

omitted.)

      Latimer recounted that Steel Surplus “made significant, material changes” in

handwriting on its copy of the proposed earnest money contract before returning it

to Greene. Those changes included adding a “specific closing date of November 21,

2022,” changing the type of deed required from a special warranty deed to a general


                                          5
warranty deed, and adding a requirement that Adobe Capital “evict all tenants”

before the proposed closing date. Latimer received a copy of the marked-up

proposed earnest money contract on July 5, 2022, but neither he nor anyone else

acting on behalf of Adobe Capital “accepted [Steel Surplus’s] material changes.”

      Absent a signed earnest money contract, Greene “continued to market the

[p]roperty” and quickly received an offer from another potential buyer to purchase

the property for $6 million. According to Latimer, on July 6, 2022, Greene informed

Steel Surplus by email of the new offer, and he invited Steel Surplus to make a

counteroffer. Steel Surplus responded, “[F]orget it we will take it elsewhere,” and

it noted that it “need[ed] a signed contract asap.” (Internal quotations omitted.) Steel

Surplus then stated: “[L]et me know if it is meant to be if not we did all we could

do.” (Internal quotations omitted.)

      Latimer further stated that on July 7, 2022, Steel Surplus took a copy of the

proposed earnest money contract, without its handwritten revisions, to the title

company “along with a $100,000[] cashier’s check.” The title company “refused to

accept” the proposed earnest money contract and the cashier’s check. On July 9,

2022, the title company “emailed Steel Surplus, sending . . . copies” of the proposed

earnest money contract and the cashier’s check and informed Steel Surplus that the

contract “did not have the [s]eller’s initials or signature” and the title company

required “a fully executed [c]ontract by [s]eller and [buyer] to open title.” According


                                           6
to Latimer, “[d]espite being informed by [the title company] that there was no fully

executed contract,” and telling Greene “let’s wrap up with a signed contract,” Steel

Surplus decided to file suit. (Internal quotations omitted.)

      Latimer explained that neither he nor any other officer or employee of Adobe

Capital had “communicated in any manner with” or “made any representation to”

Steel Surplus during the proposed transaction period, and he attested that Adobe

Capital “never signed a contract with Steel Surplus for the sale of the [p]roperty.”

      Adobe Capital then filed a motion for summary judgment, asserting that it was

entitled to judgment as a matter of law on Steel Surplus’s claims against it. As to

Steel Surplus’s breach-of-contract claim, Adobe Capital argued that the statute of

frauds, codified in Texas Business and Commerce Code section 26.01, barred Steel

Surplus’s claim because the evidence conclusively proved that “Adobe [Capital]

never signed a contract with Steel Surplus.”5 Adobe Capital also asserted that Steel

Surplus initially “returned the [proposed earnest money] contract to Greene with

multiple changes and additional conditions,” and its handwritten material changes

to the terms, which included requiring Adobe Capital to evict all tenants and to turn

the property over to Steel Surplus immediately after closing, specifying a new

closing date of November 21, 2022, and requiring Adobe Capital to provide a general

warranty deed as opposed to a special warranty deed, constituted a counteroffer that

5
      See TEX. BUS. &amp; COM. CODE ANN. § 26.01.

                                          7
extinguished Adobe Capital’s original offer, and “Adobe [Capital] did not accept

th[e] [counter]offer.”

      As to Steel Surplus’s fraud claim against it, Adobe Capital argued that it was

entitled to judgment as a matter of law on the claim because Latimer, in his

declaration, stated that Adobe Capital “had no contact with Steel Surplus” and had

“made no representations to it.”6

      Based on the same grounds set forth in its summary-judgment motion, Adobe

Capital also moved to expunge Steel Surplus’s lis pendens so that it could “freely

market” the property. Further, Adobe Capital argued that the lis pendens was invalid

because it was not served on it by the statutory deadline.7

      In its response to Adobe Capital’s summary-judgment motion, Steel Surplus

asserted that Adobe Capital was not entitled to judgment as a matter of law on Steel

Surplus’s claims against it. According to Steel Surplus, although no officer or

employee of Adobe Capital had direct contact with Steel Surplus, “Greene, on behalf

of Adobe [Capital], negotiated and agreed upon a price and the material terms of the

purchase of the [p]roperty.” Greene confirmed the agreement in a text message to

Steel Surplus,” by stating: “[A] sales price of $5,000,000[], a closing date of [sixty]




6
      Adobe Capital attached the declaration of Latimer and accompanying exhibits to its
      summary-judgment motion.
7
      See TEX. PROP. CODE ANN. § 12.007(d).

                                           8
days later and a nonrefundable earnest money deposit of $100,000 . . . [w]e have a

deal.” (Emphasis and internal quotations omitted.) With Latimer’s approval,

Greene then drafted a contract for sale of the property “detailing th[o]se terms,” and

he provided a copy to Gomez, Steel Surplus’s president.

      Steel Surplus asserted that those actions created “a valid written contract for

the sale of the . . . property . . . and Adobe [Capital] breached that agreement by not

signing” the proposed earnest money contract and “refusing to move forward with

the sale of the property” to Steel Surplus. According to Steel Surplus, Adobe Capital

should not “be rewarded for its wrongful conduct by hiding behind the statute of

frauds.”

      Steel Surplus also asserted that Adobe Capital committed fraud by refusing to

sign the proposed earnest money contract and by trying to renegotiate the sales price

to $6 million based on a phantom offer from a third party. And Steel Surplus

objected to the declaration of Latimer, complaining that the statements in his

declaration “[we]re incomplete, lack[ed] supporting proof, [and were] self-serving,

conclusory and inherently biased.” Finally, Steel Surplus requested a continuance

“until such time that the depositions of the principal witnesses,” i.e., Gomez, Greene,

and Latimer, “c[ould] be taken and further discovery conducted.”

      Steel Surplus attached to its response the declaration of Gomez. In his

declaration, Gomez stated that he had “bec[o]me aware” that Adobe Capital had


                                          9
“marketed and advertised” the property “through its authorized agent, [Greene].”

Gomez “instructed [his] office to contact Greene” about a potential lease of the

property for Steel Surplus. Later, however, he became “interested in purchasing the

property,” and his “communications with Greene turned to negotiating the terms of

a purchase.” Gomez “believed that Greene was speaking for Adobe [Capital] and

was authorized by [it] to not only market the [p]roperty but to also consider and enter

into agreements with any potential buyer.” And Greene never disclosed to Gomez

“that he was not acting on behalf of Adobe [Capital] or that he could not act on

behalf of Adobe [Capital].”       According to Gomez, “[a]fter numerous text[]

[messages] between [Steel Surplus’s] staff, [Gomez], and Greene” during June 2022,

“an agreement was reached whereby [Steel] Surplus would purchase the [p]roperty.”

      Gomez further stated that he and Greene “agreed upon a price and the material

terms of the purchase of the [p]roperty” by Steel Surplus on June 29, 2022. In an

email, Greene confirmed to Gomez “a sales price of $5,000,000, a closing date of

[sixty] days later[,] and a nonrefundable earnest money deposit of $100,000[].”

Greene also sent Gomez a text message stating, “We have a deal.” (Internal

quotations omitted.) And he informed Gomez “that he was drafting the sales

agreement and would send it to [Gomez] once Adobe [Capital]’s owner [had]

reviewed it.”




                                          10
      Gomez further explained that on June 30, 2022, Greene provided Gomez with

the proposed earnest money contract for his signature. On behalf of Steel Surplus,

Gomez “accepted the contract, signed it and returned it to Greene.”         Gomez

“reasonably presumed that Adobe [Capital]’s owner must have agreed to the

[proposed earnest money] contract and its terms as Greene [had] sent [him] the

completed sales contract which only needed signatures and the opening of escrow to

move forward with the purchase.” Gomez “took the signed contract along with the

$100,000 earnest money” to the title company, but the title company “refused to

accept the earnest money deposit solely because Adobe Capital, contrary to the

agreement and Greene’s representations,” had “refused to sign the contract.”

      Instead, on July 7, 2022, Adobe Capital, acting through Greene, emailed

Gomez to inform him “that Adobe [Capital] had found another buyer for the

[p]roperty, only this time for $6,000,000.” Adobe Capital then asked Steel Surplus

if it “wanted to match or counter” that offer. Gomez “refused and informed Adobe

[Capital] that [he] would comply with the terms of the agreement in place and that

[Steel] Surplus remained ready, willing and able to fully comply with the agreement

in place.” But “Adobe [Capital] refused to move forward with the agreement.”

      In its reply to Steel Surplus’s response, Adobe Capital pointed out that Steel

Surplus had not alleged or produced a written agreement signed by or on behalf of

Adobe Capital, so its breach-of-contract claim was barred by the statute of frauds.


                                        11
Adobe Capital also argued that Steel Surplus’s fraud claim failed as a matter of law

because “Texas law does not allow a suit for fraud in the inducement to enforce an

invalid contract.” And Adobe Capital noted that Steel Surplus had judicially

admitted in its response that Adobe Capital had not signed any contract for the sale

of the property.

      Further, Adobe Capital observed that Steel Surplus had failed to address or

produce the proposed earnest money contract it had revised and delivered to Greene

on July 2, 2022, which “materially changed the terms of the alleged agreement.”

And Adobe Capital reiterated that the proposed earnest money contract with Adobe

Capital’s revisions constituted a counteroffer “made by Steel Surplus,” which was

“not accepted or signed by Adobe Capital or anyone on its behalf.”

      Greene also filed a motion for summary judgment on Steel Surplus’s claims

against him, arguing that he was entitled to judgment as a matter of law on the claims

because even if there was a valid contract between Adobe Capital and Steel Surplus,

which there was not, he was “not a party to any such agreement.” Greene explained

that he was a real estate broker with JLL and that under an “[a]greement dated April

29, 2022,” Adobe Capital had “appointed JLL . . . as its exclusive agent to market

the [p]roperty for lease.” During the negotiations with Steel Surplus, Greene had

been “acting as an agent for a disclosed principal, Adobe [Capital].” Therefore, he

could not be held liable for Steel Surplus’s claim for breach of contract. And as to


                                         12
Steel Surplus’s fraud claim, Greene maintained that as Adobe Capital’s agent, he

merely passed information from Adobe Capital to Steel Surplus and had “no

decision-making authority to either decline or accept offers to purchase the

[p]roperty.” Thus, Greene asserted that he was “not liable for any misrepresentations

made by Adobe [Capital].”

      In its response to Greene’s summary-judgment motion, Steel Surplus argued

that Greene was not entitled to summary judgment as a matter of law on its claims

against Greene because he was a proper party and aligned with Adobe Capital.

According to Steel Surplus, under Texas Occupations Code section 1101.557(c)(1),8

Greene was liable because “he had the authority to bind Adobe [Capital] to the

agreement with [Steel Surplus] to sell the [p]roperty.”

      On December 1, 2022, the trial court signed an order granting Greene’s

summary-judgment motion.         On December 7, 2022, Steel Surplus filed a

supplemental declaration of Gomez and emergency motion for continuance, which

the trial court heard on December 8, 2022, at the hearing on Adobe Capital’s

summary-judgment motion. The trial court denied Steel Surplus’s emergency

motion for continuance, noting that the statements in Gomez’s supplemental

declaration were contradicted by his prior statements before the trial court. Steel



8
      See generally TEX. OCC. CODE ANN. § 1101.557 (“Acting as Agent; Regulation of
      Certain Transactions”).

                                         13
Surplus also filed another supplemental declaration of Gomez on December 14,

2022.

        The trial court signed orders granting Adobe Capital’s summary-judgment

motion and expunging the lis pendens on December 8, 2022. On December 9, 2022,

Adobe Capital nonsuited its counterclaim against Steel Surplus, and the trial court

signed an order dismissing the counterclaim on December 14, 2022.

        On December 23, 2022, Steel Surplus filed a motion for new trial, which was

overruled by operation of law. Despite the trial court having disposed of all claims

and parties in the case on December 14, 2022, Steel Surplus filed a first amended

petition on January 26, 2023, in which it alleged facts supporting a new fraud claim

against appellees and sought damages based on a reliance theory of recovery. Steel

Surplus did not file a motion for leave to file its first amended petition.

                                 Summary Judgment

        In its first and second issues, Steel Surplus argues that the trial court erred in

granting summary judgment in favor of appellees on Steel Surplus’s claims against

them because their summary-judgment evidence was insufficient and other

competent evidence showed the existence of disputed material facts.

        We review a trial court’s decision to grant summary judgment de novo.

Valence Operating Co. v. Dorsett, 164 S.W.3d 656, 661 (Tex. 2005); Provident Life

&amp; Accident Ins. Co. v. Knott, 128 S.W.3d 211, 215 (Tex. 2003). In conducting our


                                            14
review, we take as true all evidence favorable to the non-movant, and we indulge

every reasonable inference and resolve any doubts in the non-movant’s favor.

Valence Operating, 164 S.W.3d at 661; Knott, 128 S.W.3d at 215. If a trial court

grants summary judgment without specifying the grounds for granting the motion,

we must uphold the trial court’s judgment if any of the asserted grounds are

meritorious. Beverick v. Koch Power, Inc., 186 S.W.3d 145, 148 (Tex. App.—

Houston [1st Dist.] 2005, pet. denied).

      To prevail on a matter-of-law summary-judgment motion, the movant must

establish that no genuine issue of material fact exists and the trial court should grant

judgment as a matter of law. See TEX. R. CIV. P. 166a(c); Cathey v. Booth, 900

S.W.2d 339, 341 (Tex. 1995).        When a defendant moves for a matter-of-law

summary judgment, it must either: (1) disprove at least one essential element of the

plaintiff’s cause of action, or (2) plead and conclusively establish each essential

element of an affirmative defense, thereby defeating the plaintiff’s cause of action.

See Cathey, 900 S.W.2d at 341; Centeq Realty, Inc. v. Siegler, 899 S.W.2d 195, 197

(Tex. 1995). Once the movant meets its burden, the burden shifts to the non-movant

to raise a genuine issue of material fact precluding summary judgment. See Siegler,

899 S.W.2d at 197; Transcont’l Ins. Co. v. Briggs Equip. Tr., 321 S.W.3d 685, 691

(Tex. App.—Houston [14th Dist.] 2010, no pet.). The evidence raises a genuine

issue of fact if “reasonable and fair-minded fact finders could differ in their


                                          15
conclusions in light of all of the summary-judgment evidence.” Goodyear Tire &amp;

Rubber Co. v. Mayes, 236 S.W.3d 754, 755 (Tex. 2007).

         Steel Surplus asserts that the “[s]upplemental declarations of [Gomez] filed

on December 7, 2022 and December 14, 2022, established all of the elements of [its]

fraud claim, which it alleged for the first time in its first amended petition.” But

neither of of Gomez’s supplemental declarations were filed at least seven days

before      appellees’   summary-judgment        motions    were    submitted.9       In

summary-judgment proceedings, the trial court can only consider the pleadings and

proof on file at the time of the hearing or filed after the hearing and before judgment

with the permission of the court. See SP Terrace, L.P. v. Meritage Homes of Tex.,

LLC, 334 S.W.3d 275, 282 (Tex. App.—Houston [1st Dist.] 2010, no pet.); Hussong

v. Schwan’s Sales Enters., Inc., 896 S.W.2d 320, 323 (Tex. App.—Houston [1st

Dist.] 1995, no writ); see also TEX. R. CIV. P. 166a(c) (“Issues not expressly

presented to the trial court by written motion, answer or other response shall not be

considered on appeal as grounds for reversal.”). Here, Steel Surplus did not request




9
         See TEX. R. CIV. P. 166a(c). The trial court signed its order granting Greene’s
         summary-judgment motion on December 1, 2022, and it signed its order granting
         Adobe Capital’s summary-judgment motion on December 8, 2022. Steel Surplus
         filed Gomez’s first supplemental declaration with its December 7, 2022 emergency
         motion for continuance of the hearing on Steel Surplus’s summary-judgment
         motion.

                                            16
permission to file any additional summary-judgment proof,10 and the trial court had

already decided the appellees’ summary-judgment motions before Steel Surplus

filed its first amended petition. As a result, any issues not raised in Steel Surplus’s

original petition or in its responses to the appellees’ summary-judgment motions

were not before the trial court and thus are not part of our review. See Hussong, 896

S.W.2d at 323.

      A matter-of-law summary-judgment motion, though, must stand on its own

merits. M.D. Anderson Hosp. &amp; Tumor Inst. v. Willrich, 28 S.W.3d 22, 23 (Tex.

2000). Because Steel Surplus’s issues on appeal are broad enough to challenge the

summary judgment on both its breach-of-contract and fraud claims, we consider

each claim in turn. See id.; Henriquez v. Cemex Mgmt., Inc., 177 S.W.3d 241, 255

(Tex. App.—Houston [1st Dist.] 2005, pet. denied) (holding broad “Malooly” point

sufficient to support contention challenging all possible grounds on which summary

judgment rendered, if supported by argument; distinguishing Malooly Brothers, Inc.,


10
      We also note that the trial court identified discrepancies between the representations
      made in the declaration of Gomez submitted with Steel Surplus’s
      summary-judgment response to Adobe Capital’s summary-judgment motion and
      those made in his supplemental declarations. Under Texas Rule of Civil Procedure
      166a(c), a trial court may conclude that a party does not raise a genuine fact issue
      by submitting testimony that materially conflicts with the same witness’s prior
      testimony unless the party provides an adequate explanation for the conflict. Lujan
      v. Navistar, Inc., 555 S.W.3d 79, 87 (Tex. 2018). Because Steel Surplus did not
      attempt to explain the discrepancies between Gomez’s earlier and later declarations,
      the trial court could properly have disregarded those statements as not presenting a
      genuine fact issue. See id.
                                            17
461 S.W.2d 119, 121 (Tex. 1970)); see also TEX. R. APP. P. 38.1(f) (issue statement

“will be treated as covering every subsidiary question that is fairly included”); St.

John Missionary Baptist Church v. Flakes, 595 S.W.3d 211, 214 (Tex. 2020).

      The elements of a breach-of-contract claim are: (1) a valid contract, (2) the

party suing to enforce the contract performed or tendered performance, (3) the other

party breached the contract, and (4) the suing party was damaged as a result of the

breach. USAA Tex. Lloyds Co. v. Menchaca, 545 S.W.3d 479, 501 n.21 (Tex. 2018);

Thornton v. Dobbs, 355 S.W.3d 312, 316 (Tex. App.—Dallas 2011, no pet.). “A

breach occurs when a party fails or refuses to do something [it] has promised to do.”

Mays v. Pierce, 203 S.W.3d 564, 575 (Tex. App.—Houston [14th Dist.] 2006, pet.

denied).

      As in this case, when the contract at issue is one “for the sale of real estate,”

the Texas statute of frauds applies. See TEX. BUS. &amp; COM. CODE ANN. § 26.01(b)(4).

To satisfy the statutory requirements, the contract must be in writing and signed by

the person to be charged with the promise or contract or by someone lawfully

authorized to sign for him. Id. § 26.01(a)(l). Generally, when the contract is a type

that comes within the statute of frauds, it is unenforceable if it does not satisfy the

statutory requirements. Dynegy, Inc. v. Yates, 422 S.W.3d 638, 641 (Tex. 2013).

      “The party pleading the statute of frauds bears the initial burden of

establishing its applicability.” Id. “Once that party meets its initial burden, the


                                          18
burden shifts to the opposing party to establish an exception” that would take the

unsigned contract out of the statute of frauds. Id.
      Adobe Capital raised the statute of frauds as an affirmative defense, and in its

summary-judgment motion, argued that the proposed earnest money contract was

not enforceable as a matter of law because it “had never signed a contract with Steel

Surplus.” In his summary-judgment motion, Greene asserted that there was no

enforceable contract between Steel Surplus and Adobe Capital, and even if there

was, he was not a party to it. The summary-judgment evidence conclusively

established that no one had signed a copy of the proposed earnest money contract on

behalf of Adobe Capital; Steel Surplus admitted as much in its appellant’s brief.11

In its summary-judgment response, Steel Surplus did not show that the proposed

earnest money contract fell within a statutory exception that would have taken the

unsigned agreement out of the statute of frauds. See id. Instead, the undisputed

evidence established that the proposed earnest money contract was unenforceable,


11
      The undisputed evidence also shows that before Steel Surplus attempted to deliver
      the unsigned proposed earnest money contract and its cashier’s check to the title
      company, Gomez, on behalf of Steel Surplus, sent a copy of the proposed earnest
      money contract with handwritten modifications to Adobe Capital. In its
      summary-judgment motion, Adobe Capital asserted that the modifications sought
      by Steel Surplus were material changes to the proposed earnest money contract and
      thus constituted a counteroffer and a rejection of the initial offer set out in the
      proposed earnest money contract. See Davis v. Tex. Farm Bur. Ins., 470 S.W.3d 97,
      105 (Tex. App.—Houston [1st Dist.] 2015, no pet.). Adobe Capital relied on this
      evidence to explain why there was no signature on behalf of Adobe Capital on the
      proposed earnest money contract.

                                          19
and that as a result, Steel Surplus’s breach-of-contract claim failed as a matter of

law.

       As to Steel Surplus’s fraud claims against appellees, we note that “a plaintiff

may not circumvent the statute of frauds by asserting a claim for fraud.” Flameout

Design &amp; Fabrication, Inc. v. Pennzoil Caspian Corp., 994 S.W.2d 830, 837 (Tex.

App.—Houston [1st Dist.] 1999, no pet.). “A fraud cause of action is barred by the

statute of frauds when the plaintiff seeks to gain the benefit of the bargain that it

would have obtained had the contract been performed.” Id.; see also Haase v.

Glazner, 62 S.W.3d 795, 800 (Tex. 2001); Biko v. Siemens Corp., 246 S.W.3d 148,

162–63 (Tex. App.—Dallas 2007, pet. denied).

       These legal principles and their application here bring us to Steel Surplus’s

complaints about the admissibility of appellees’ summary-judgment evidence and

whether conflicts in the evidence made the trial court’s granting of summary

judgment improper. Specifically, Steel Surplus complains about the declarations of

Latimer and Greene, pointing out instances where certain statements made by

Latimer, Greene, and Gomez in their various declarations “clearly conflicted with

and contradicted one another.” The challenged statements addressed issues such as

whether Greene had authority to commit Adobe Capital to a sale agreement for the

property, whether the parties had “a deal,” and communications about a potential

buyer that offered $6 million for the property. None of those statements, though,


                                          20
involve material facts; that is, for the reasons expressed above, they do not affect the

trial court’s summary-judgment rulings in favor of appellees on Steel Surplus’s

breach-of-contract and fraud claims against them. A fact is “material” and will

preclude summary judgment if it affects the outcome of the suit under the substantive

law. Orion Refin. Corp. v. UOP, 259 S.W.3d 749, 771–72 (Tex. App.—Houston

[1st Dist.] 2007, pet. denied); see also Collins v. Guinn, 102 S.W.3d 825, 834 (Tex.

App.—Texarkana 2003, pet. denied). A material fact creates a genuine issue only if

a reasonable jury could find the fact in favor of the non-movant party based on that

fact. See Orion Refin. Corp., 259 S.W.3d at 772.

      Because the undisputed facts before the trial court established that Steel

Surplus’s breach-of-contract and fraud claims against appellees failed as a matter of

law, we hold that the trial court did not err in granting summary judgment in favor

of appellees on Steel Surplus’s claims against them.

      We overrule Steel Surplus’s first and second issues.

                              Motion for Continuance

      In its third issue, Steel Surplus argues that the trial court erred in “not granting

[its] requests for continuance on consideration of [a]ppellee[s’] [m]otions for

[s]ummary [j]udgment” on its fraud claim because there had not been adequate time

for discovery.




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      We review a trial court’s order denying a motion for continuance for an abuse

of discretion. Joe v. Two Thirty Nine Joint Venture, 145 S.W.3d 150, 161 (Tex.

2004). The trial court may order a continuance of a summary-judgment hearing if it

appears “from the affidavits of a party opposing the motion that [it] cannot for

reasons stated present by affidavit facts essential to justify [its] opposition.” TEX.

R. CIV. P. 166a(g). When deciding whether a trial court abused its discretion in

denying a motion for continuance seeking additional time to conduct discovery, we

consider nonexclusive factors including, the materiality and purpose of the discovery

sought and whether the party seeking the continuance has exercised due diligence to

obtain the discovery sought. See Tenneco Inc. v. Enter. Prods. Co., 925 S.W.2d 640,

647 (Tex. 1996) (materiality and purpose); State v. Wood Oil Distrib., Inc., 751

S.W.2d 863, 865 (Tex. 1988) (due diligence).

      According to its appellant’s brief, Steel Surplus “requested a continuance for

additional discovery prior to the [trial court’s] hearings on [appellees’] motions for

summary judgment as required by [Texas Rule of Civil Procedure] 166a(i).” But

rule 166a(i) deals with no-evidence summary-judgment proceedings. Because

neither Adobe Capital nor Greene filed a no-evidence summary-judgment motion,

rule 166a(i) could not have provided grounds for a continuance. See TEX. R. CIV. P.

166a(i).




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      We note that in the trial court Steel Surplus explained that it wanted additional

time to conduct discovery into “communications between” appellees “regarding

their intentions and affirmative actions to enter into a written contract with Steel

Surplus for the property” and information about the “supposed” third party that

offered to buy the property for $6 million. But those proposed avenues of inquiry

were relevant only to issues raised in Steel Surplus’s first amended petition and the

supplemental declarations of Gomez, none of which were properly before the trial

court when it ruled on appellees’ summary-judgment motions. Thus, Steel Surplus

did not seek a continuance to discover facts that would have affected the trial court’s

summary-judgment rulings. See Orion Refin. Corp., 259 S.W.3d at 771–72; see also

Tenneco, 925 S.W.2d at 647.

      Further, as Adobe Capital points out in its briefing, Steel Surplus sent no

discovery of any kind to the appellees during the pendency of the case. This shows

a lack of due diligence, which is a sufficient ground for the trial court to deny a

motion for continuance. See Wood Oil Distrib., 751 S.W.2d at 865.

      Accordingly, we hold that the trial court did not err in denying Steel Surplus’s

motion for continuance.

      We overrule Steel Surplus’s third issue.




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                                      Conclusion

      We affirm the judgment of the trial court.




                                             Julie Countiss
                                             Justice

Panel consists of Justices Kelly, Countiss, and Rivas-Molloy.




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